Case 2:20-cv-02580-ODW-AS Document 61 Filed 06/11/20 Page 1 of 11 Page ID #:744



   1 Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
   2       A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
   3 Los Angeles, California 90010
     (323) 937-4501 Fax (888) 316-6107
   4 e-mail: baruchcohen@baruchcohenesq.com

   5 Attorney for Defendants/Third-Party Plaintiffs PETER VOUTSAS aka PETER
     MARCO aka PETER VOUTSAS, aka PETER MARCO EXTRAORDINARY JEWELS
   6 OF BEVERLY HILLS, dba PETER MARCO LLC

   7

   8                        IN THE UNITED STATES DISTRICT COURT
   9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10

  11    DAVID ROVINSKY LLC, a Delaware                 USDC # 2:20-cv-02580-ODW-AS
        limited liability company,
  12                                                   Hon. Otis D. Wright II
                            Plaintiff,
  13
        PETER VOUTSAS aka PETER                        SUPPLEMENTAL DECLARATION
  14    MARCO aka PETER VOUTSAS, aka                   OF BARUCH C. COHEN
        PETER MARCO EXTRAORDINARY                      REGARDING THIRD-PARTY
  15    JEWELS OF BEVERLY HILLS, dba                   DEFENDANTS’ MOTION FOR
        PETER MARCO LLC,                               STAY OF PROCEEDINGS
  16
              Defendants/Third-Party Plaintiffs,       [Concurrently filed with Request for
  17                                                   Judicial Notice]
        vs.
  18
        JONA S. RECHNITZ, an individual;               Date: [Taken off Calendar]
  19    RACHEL RECHNITZ, an individual;                Time:
        LEVIN PRADO aka LEVON PRADO,                   Courtroom: 5D
  20    an individual,

  21                 Third-Party Defendants.

  22

  23             Third-Party Plaintiffs PETER VOUTSAS aka PETER MARCO aka PETER

  24   VOUTSAS, aka PETER MARCO EXTRAORDINARY JEWELS OF BEVERLY

  25   HILLS, dba PETER MARCO LLC (“Marco”), hereby submit a Supplemental

  26   Declaration of Baruch C. Cohen Regarding Third-party Plaintiffs’ Third-party

  27   Defendants’ Motion for Stay of Proceedings.

  28                      SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
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   1             On 6-2-2020, this Court vacated the 6-15-2020 hearing on Rechnitz's Motion
   2   to Stay, and the matter is submitted.
   3             On 6-9-2020, this Court denied Rechnitz’s ex Parte Application for an Order
   4   Permitting Submission for in Camera Review, Declaration of Counsel Providing
   5   Information to the Court Relating to the Ongoing Criminal Investigation (“Ex
   6   Parte”)[Doc-57] Regarding the Motion for Stay of Proceedings (“Motion”) finding
   7   that the application does not warrant in camera review.
   8             As to whether this court should stay this proceeding, Marco wishes to advise
   9   and update this Court that on 6-10-2020, in the Jadelle involuntary bankruptcy
  10   proceeding, Case # 2:20-bk-13530-BR United States Bankruptcy Judge Barry
  11   Russell, issued an Order Directing Rachel Rechnitz and Jona Rechnitz to File Joint
  12   Declaration under Penalty of Perjury [Doc-39] ordered the following:
  13   1.        Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
  14             file a joint declaration, sworn under penalty of perjury, which identifies each
  15             and every one of the debtor’s creditors as of the date of the filing of the
  16             involuntary petition on April 6, 2020. The joint declaration shall include,
  17             without limitation, the following information with respect to each creditor
  18             identified therein:
  19             a.    the name of the creditor;
  20             b.    the nature of the debt owed to the creditor (e.g., consigned jewelry, rent
  21                   due and owing, etc.);
  22             c.    the amount of the creditor’s claim;
  23             d.    whether the creditor’s claim is disputed and, if so, the nature of the
  24                   dispute; and
  25             e.    complete contact information for each creditor including, but not
  26                   limited to, the creditor’s address, telephone number, cell phone number
  27                   (if known), fax number (if applicable), and email address (if known);
  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
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   1   2.        The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e., no
   2             later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint declaration
   3             with the Court and serve the declaration on counsel for the petitioning
   4             creditors;
   5   3.        If the Rechnitz’s fail to file the joint declaration by that date and time, the
   6             Court will deny the debtor’s Motion to Dismiss and immediately enter an
   7             order for relief in this case. The entry of such an order for relief will render
   8             both the pending Motion to Dismiss and Trustee Appointment Motion moot;
   9   4.        If the Rechnitz’s file the joint declaration by the required date and time, then:
  10             a.    The petitioning creditors shall have sixty (60) days from the date of this
  11                   hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to contact the
  12                   creditors listed in the joint declaration to determine if any of them are
  13                   willing to join in the involuntary petition;
  14             b.    The petitioning creditors shall have the same sixty (60) day period
  15                   within which to conduct discovery of the creditors listed in the joint
  16                   declaration, which discovery shall be limited solely to questions
  17                   regarding the nature and amount of the creditor’s claim and, if the
  18                   creditor’s claim is listed in the joint declaration as disputed, the nature
  19                   of such dispute.1
  20             The point being, is that by filing their Joint Declarations sworn under penalty
  21   of perjury regarding their defrauded creditors (like Marco), and their having to be
  22   deposed by Petitioning Creditors re same. Rechnitz will de facto, have to waive their
  23
                 1
                A true and correct copy of United States Bankruptcy Court Judge Barry Russell’s 6-10-2020
  24   Order: (1) Directing Rachel Rechnitz and Jona Rechnitz to File Joint Declaration under Penalty of
       Perjury; (2) Setting Date by Which Petitioning Creditors May Contact Creditors Identified in Joint
  25
       Declaration and Conduct Certain Discovery; (3) Setting Date for Hearing on Status Conference; and
  26   (4) Setting Date for Filing of Joint Status Report Prior to Status Conference [Doc-39] is attached
       hereto as Exhibit “1" and is incorporated herein by this reference. See, Declaration of Baruch C.
  27   Cohen, and Request for Judicial Notice.
  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
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   1   Fifth amendment rights against self-incrimination from criminal liability that they
   2   fear in this Motion. If indeed, Rechnitz complies with Judge Russell’s Order, this
   3   Motion for Stay would be moot.
   4

   5 DATED:          June 11, 2020            LAW OFFICE OF BARUCH C. COHEN
                                              A Professional Law Corporation
   6
                                              By      /S/ Baruch C. Cohen
   7                                                Baruch C. Cohen, Esq.
                                              Attorney for Defendants/Third-Party
   8                                          Plaintiffs PETER VOUTSAS aka PETER
                                              MARCO aka PETER VOUTSAS, aka PETER
   9                                          MARCO EXTRAORDINARY JEWELS OF
                                              BEVERLY HILLS, dba PETER MARCO LLC
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  28                   SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                        THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

       6/11-2:58pm
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   1                 SUPPLEMENTAL DECLARATION OF BARUCH COHEN
   2             I, BARUCH C. COHEN, declare and state as follows:
   3 1.          The facts stated below are true and correct to the best of my personal
   4             knowledge and if called upon to testify to them, I could and would
   5             competently do so.
   6 2.          I am a member in good standing and eligible to practice before the following
   7             courts: California State Supreme Court; United States Court of Appeals -
   8             Ninth Circuit; Bankruptcy Appellate Panel; United States District Courts:
   9             Central District of California; Eastern District of California; Northern District
  10             of California; and Southern District of California.
  11 3.          I am the principal shareholder and President of The Law Office of Baruch C.
  12             Cohen, a Professional Law Corporation, located at 4929 Wilshire Boulevard,
  13             Suite 940, Los Angeles, California 90010.
  14 4.          I proudly represent Defendants/Third-Party Plaintiffs PETER VOUTSAS aka
  15             PETER MARCO aka PETER VOUTSAS, aka PETER MARCO
  16             EXTRAORDINARY JEWELS OF BEVERLY HILLS, dba PETER MARCO
  17             LLC.
  18 5.          This Supplemental Declaration is in support of THIRD-PARTY
  19             PLAINTIFFS’ OPPOSITION TO THIRD-PARTY DEFENDANTS’
  20             THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF
  21             PROCEEDINGS.
  22 6.          A true and correct copy of United States Bankruptcy Court Judge Barry
  23             Russell’s 6-10-2020 Order: (1) Directing Rachel Rechnitz and Jona Rechnitz
  24             to File Joint Declaration under Penalty of Perjury; (2) Setting Date by Which
  25             Petitioning Creditors May Contact Creditors Identified in Joint Declaration
  26             and Conduct Certain Discovery; (3) Setting Date for Hearing on Status
  27             Conference; and (4) Setting Date for Filing of Joint Status Report Prior to
  28                      SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

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   1             Status Conference [Doc-39] is attached hereto as Exhibit “1" and is
   2             incorporated herein by this reference.
   3             I declare under penalty of perjury under the laws of the State of California that
   4 the foregoing is true and correct.

   5             Executed June 11, 2020, at Los Angeles, California.
   6
                                                          By /s/ Baruch C.         Cohen
   7                                                            Baruch C. Cohen
   8

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  28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                          THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

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      Case 2:20-bk-13530-BR   Doc 39 Filed 06/10/20 Entered 06/10/20 13:01:33              Desc
                               Main Document Page 1 of 4



  1
  2
                                                                FILED & ENTERED
  3
  4                                                                    JUN 10 2020
  5
                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                  Central District of California
  6                                                               BY fortier    DEPUTY CLERK


  7
                          UNITED STATES BANKRUPTCY COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
  9
                                  LOS ANGELES DIVISION
 10
 11
 12   In re:                                    Case No.: 2:20-bk-13530-BR

 13   Jadelle Jewelry and Diamonds LLC,         Chapter 7
 14                                             ORDER:
 15                                             (1) DIRECTING RACHEL RECHNITZ AND
 16                                             JONA RECHNITZ TO FILE JOINT
                                  Debtor(s).    DECLARATION UNDER PENALTY OF
 17                                             PERJURY;
 18
                                                (2) SETTING DATE BY WHICH
 19                                             PETITIONING CREDITORS MAY CONTACT
                                                CREDITORS IDENTIFIED IN JOINT
 20                                             DECLARATION AND CONDUCT CERTAIN
 21                                             DISCOVERY;

 22                                             (3) SETTING DATE FOR HEARING ON
                                                STATUS CONFERENCE; AND
 23
 24                                             (4) SETTING DATE FOR FILING OF JOINT
                                                STATUS REPORT PRIOR TO STATUS
 25                                             CONFERENCE
 26                                             Date:      June 9, 2020
 27                                             Time:      10:00 a.m.
                                                Courtroom: 1668
 28




                                               -1-


                              Exhibit 1, Page 1 of 5
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  1         The Court held a hearing on June 9, 2020 on the following two motions: the
  2   “Putative Debtor’s Motion to Dismiss Involuntary Petition and Request for Attorney’s
  3
      Fees, Costs and Damages” (“Motion to Dismiss”), filed by the debtor on May 1, 2020,
  4
      and the “Petitioning Creditors’ Notice of Motion and Motion for Appointment of Interim
  5
      Chapter 7 Trustee” (“Trustee Appointment Motion”) filed on May 19, 2020 by petitioning
  6
  7   creditors Victor Franco Noval, Peter Marco, LLC and First International Diamond, Inc.

  8         Robert S. Marticello, Esq. of Smiley, Wang-Ekvall, LLP appeared on behalf of the
  9   debtor. Ronald Richards of the Law Firm of Ronald L. Richards & Associates, APC,
 10
      Baruch C. Cohen, APLC and Daniel A. Lev, Esq. of SulmeyerKupetz, A Professional
 11
      Corporation, appeared on behalf of the petitioning creditors.
 12
 13         With respect to the debtor’s Motion to Dismiss, the Court considered the Motion,

 14   the petitioning creditors’ Opposition to the Motion, the debtor’s Reply to the petitioning
 15   creditors’ Opposition, and all pleadings related to the Motion, Opposition and Reply.
 16
            With respect to the petitioning creditors’ Trustee Appointment Motion, the Court
 17
      considered the Motion and all related pleadings including the separately filed
 18
      declarations of Ronald Richards, Oved Anter, Victor Franco Noval, and Peter Marco,
 19
 20   the debtor’s Opposition to the Motion, the petitioning creditors’ Reply to the debtor’s

 21   Opposition, and all other pleadings related to the Motion, Opposition and Reply.
 22         The Court also considered the debtor’s separately filed declarations of Levin
 23
      Prado and Marc Williams in Opposition to the Trustee Appointment Motion, the debtor’s
 24
      evidentiary objections to the declarations of Oved Anter, Victor Franco Noval, Peter
 25
 26   Marco and Ronald Richards, the petitioning creditors’ evidentiary objections to the

 27   debtor’s Request for Judicial Notice, and all other pleadings related to the Motion,

 28   Opposition and Reply.




                                                 -2-


                                 Exhibit 1, Page 2 of 5
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  1         At the June 9 hearing, the Court ruled on the record on all of the evidentiary
  2   objections and heard argument and representations of counsel. After consideration of
  3
      all of the above, the Court HEREBY ORDERS AS FOLLOWS:
  4
            1. Rachel Rechnitz and Jona Rechnitz (collectively, the “Rechnitz’s”) must file a
  5
               joint declaration, sworn under penalty of perjury, which identifies each and
  6
  7            every one of the debtor’s creditors as of the date of the filing of the involuntary

  8            petition on April 6, 2020. The joint declaration shall include, without limitation,
  9            the following information with respect to each creditor identified therein:
 10
                   a. the name of the creditor;
 11
                   b. the nature of the debt owed to the creditor (e.g., consigned jewelry,
 12
 13                    rent due and owing, etc.);

 14                c. the amount of the creditor’s claim;
 15                d. whether the creditor’s claim is disputed and, if so, the nature of the
 16
                       dispute; and
 17
                   e. complete contact information for each creditor including, but not limited
 18
                       to, the creditor’s address, telephone number, cell phone number (if
 19
 20                    known), fax number (if applicable), and email address (if known);

 21         2. The Rechnitz’s shall have seven (7) days from the date of this hearing (i.e.,
 22            no later than 3:00 p.m. on Tuesday, June 16, 2020) to file their joint
 23
               declaration with the Court and serve the declaration on counsel for the
 24
               petitioning creditors;
 25
 26         3. If the Rechnitz’s fail to file the joint declaration by that date and time, the

 27            Court will deny the debtor’s Motion to Dismiss and immediately enter an order

 28




                                                    -3-


                                 Exhibit 1, Page 3 of 5
Case 2:20-cv-02580-ODW-AS Document 61 Filed 06/11/20 Page 10 of 11 Page ID #:753

       Case 2:20-bk-13530-BR       Doc 39 Filed 06/10/20 Entered 06/10/20 13:01:33            Desc
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   1            for relief in this case. The entry of such an order for relief will render both the
   2            pending Motion to Dismiss and Trustee Appointment Motion moot;
   3
            4. If the Rechnitz’s file the joint declaration by the required date and time, then:
   4
                    a. The petitioning creditors shall have sixty (60) days from the date of
   5
                        this hearing (i.e., no later than 3:00 p.m. on August 14, 2020) to
   6
   7                    contact the creditors listed in the joint declaration to determine if any of

   8                    them are willing to join in the involuntary petition;
   9                b. The petitioning creditors shall have the same sixty (60) day period
  10
                        within which to conduct discovery of the creditors listed in the joint
  11
                        declaration, which discovery shall be limited solely to questions
  12
  13                    regarding the nature and amount of the creditor’s claim and, if the

  14                    creditor’s claim is listed in the joint declaration as disputed, the nature
  15                    of such dispute;
  16
                    c. The Court shall hold a status conference on this involuntary case on
  17
                        August 25, 2020 at 10:00 a.m., and
  18
                    d. The parties shall file a joint status report seven (7) days prior to the
  19
  20                    status conference (i.e., no later than 3:00 p.m. on August 18, 2020).

  21        IT IS SO ORDERED.
  22                                               ###
  23
  24
  25       Date: June 10, 2020

  26
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                                  Exhibit 1, Page 4 of 5
Case 2:20-cv-02580-ODW-AS Document 61 Filed 06/11/20 Page 11 of 11 Page ID #:754



    1                                CERTIFICATE OF SERVICE
    2       I declare that I am a citizen of the United States and I am a resident and
      employed in Los Angeles, California; that my business address is 4929 Wilshire
    3 Boulevard, Suite 940, Los Angeles, California 90010; that I am over the age of 18
      and not a party to the above-entitled action.
    4
                  I am employed by a member of the United States District Court for the Central
    5 District of California, and at whose direction I caused service of the foregoing
        document entitled SUPPLEMENTAL DECLARATION OF BARUCH C.
    6 COHEN REGARDING THIRD-PARTY DEFENDANTS’ MOTION FOR
        STAY OF PROCEEDINGS on all interested parties in this action by the method
    7 indicated below at the address stated below:

    8
        Marc S. Williams, Esq.
    9 Cohen Williams, LLP
        724 South Spring Street, 9th Floor
   10 Los Angeles, CA 90014
        Email: mwilliams@cohen-williams.com
   11 Attorney for Third-Party Defendants Jona S. & Rachel Rechnitz

   12
        [X]       BY ELECTRONIC TRANSMISSION: by electronically filing the
   13             foregoing with the Clerk of the District Court using its CM/ECF System
                  pursuant to the Electronic Case Filing provision of the United States District
   14             Court General Order and the E-Government Act of 2002, which electronically
                  notifies all parties in this case. A pdf version of this document was also
   15             transmitted to counsel via electronic mail at the mail address indicated above.
   16      I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct. Executed on June 11, 2020 at Los
   17 Angeles, California.

   18
        By: /s/       Baruch C. Cohen
   19 Baruch C. Cohen

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   28                     SUPPLEMENTAL DECLARATION OF BARUCH C. COHEN REGARDING
                           THIRD-PARTY DEFENDANTS’ MOTION FOR STAY OF PROCEEDINGS

        6/11-2:58pm
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